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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 20-cv-2585

KENNETH GLAD,

Petitioner,

v.

BILL ELDER, in his official capacity as EL PASO COUNTY SHERIFF, and DISTRICT
ATTORNEY FOR THE FOURTH JUDICIAL DISTRICT

Respondents.


     RESPONDENT DISTRICT ATTORNEY FOR THE FOURTH JUDICIAL DISTRICT
      RESPONSE TO APPLICATION FOR WRIT OF HABEAS CORPUS PURSUANT
         TO 28 U.S.C. § 2241; ORDERS OF COURT DATED AUGUST 31, 2020 and
            DECEMBER 21, 2020 AND PETITIONER’S RENEWED MOTION
                       FOR TEMPORARY RESTRAINING ORDER


          Respondent, the Office of the District Attorney for the Fourth Judicial District of the State

of Colorado, (“DA”), as the office prosecuting the Petitioner for criminal matters in the El Paso

County District Court, case number 2020CR1194, by and through his attorneys El Paso County

Attorney’s Office, hereby submits its Combined Response to Mr. Glad’s for Writ of Habeas

Corpus Pursuant to 28 U.S.C. §2241, this Court’s Orders of Application August 31, 2020 and

December 21, 2020 and Petitioner’s Renewed Motion for Temporary Restraining Order and as

grounds in support thereof states as follows:

     I.       PRELIMINARY MATTERS BASED ON THIS COURT’S ORDERS DATED
                         AUGUST 31, 2020 and DCEMBER 21, 2020.

          The DA address the following preliminary matters set forth in this Court’s Orders dated

August 31, 2020 and December 21, 2020:




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1.    DA refers the Court to the attachments to Glad’s Writ of Habeas Corpus (ECF #1-1 through

      1-15) as the record it should review in determination of the Writ of Habeas Corpus Pursuant

      to 28 U.S.C. §2241 (hereinafter “the Writ”) and Petitioner’s Renewed Motion for

      Temporary Restraining Order (hereinafter “the TRO”) and, if necessary, incorporates each

      of those attachments into this Response.

2.    DA is not raising the affirmative defense that the Writ is time barred pursuant to 28 U.S.C.

      § 2244(d)(1) nor is the DA raising a failure to exhaust state remedies defense pursuant to

      Rule 5(b) of the Rule Governing Section 2254 Cases in the United States District Courts.

                II.    PROCEDURAL HISTORY OF CRIMINAL CASE

1.    Kenneth Glad (“Glad”) is currently and has been continuously incarcerated at the El Paso

      County Justice Center (“EPCJC”), 2739 East Las Vegas Street, Colorado Springs,

      Colorado 80906 following his arrest on February 24, 2020 on charges of first degree

      kidnapping, C.R.S. §18-3-301(1)(a), (2); second degree kidnapping C.R.S. §18-3-302(1)

      and (3); sexual assault, C.R.S. §18-3-402(1)(a) and (5); and C.R.S. §18-3-402(1)(a) and

      (4). See ECF #1-11.

2.    On February 25, 2020, the El Paso County District Court set Mr. Glad’s bond at $300,000

      cash or surety. Mr. Glad’s jury trial is currently scheduled for February 1, 2021.

3.    On April 17, 2020, Glad’s Public Defender moved the Trial Court for a modification of

      Glad’s Bond (ECF #1-1); on April 14, 2020, DA Responded to Glad’s Motion for Bond

      Modification (ECF #1-2); and on April 14, 2020, Glad filed his Reply to DA’s Response

      (ECF #1-3).

4.    On April 16, 2020, El Paso County District Judge Erin Sokol held a hearing on Glad’s

      Motion for Bond Modification (see Transcriptionist’s Transcript ECF #1-4).




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5.    During the Bond Modification Hearing Judge Sokol advised the parties that she:

             [D]id spend some significant time reviewing the Motion for the
             Bond Modification, as well as the people’s response to the
             defendant’s Motion for Bond Modification, as well as the
             attachments to the people’s response, as well as the public
             defender;s Reply to the people’s response to the defendant’s Motion
             for Bond Modification. There was an attachment there, which is a
             scholarly article, I will note, from the Pre-Trial Justice Institute
             regarding unsecured bonds and arguments to change legislation as I
             take it. (ECF #1-4, p. 3, lns. 10-17).

             *       *       *

             The Supreme Court of Colorado, Justice Coats – he’s the Chief
             Justice – has issued an opinion or a memorandum regarding the
             COVID – 19 pandemic and these sorts of issues. … There remains
             a clear need to detain some criminal defendants in the interest of
             public safety and therefore, jail populations cannot be reduced
             indiscriminately. This is a case of momentous proportions with
             respect to public safety. In fact, it’s difficult to really imagine a case
             with more public safety implications. ECF #1-4, p. 6, l. 17 to p. 7, l.
             2 (emphasis added).

             *       *       *

             THE COURT [highlighting for the record the allegations against
             Glad]: When she [the Victim] got in the vehicle, she realized the
             defendant had his erect penis outside of his pants. He was
             masturbating. He then proceeded to kidnap her, hold her at knife
             point, force her to perform oral sex, and she only got away because
             she jumped out of the vehicle going at least 40 miles per hour. Video
             surveillance exists to show her rolling out of the vehicle. It’s a
             shocker that she is alive today given the allegations, understanding
             they’re allegations. And then, on December 17th, 2010, in Salt Lake
             County, Utah, the defendant pled guilty to another sexual offense,
             unlawful sexual activity with a minor, a felony, a third-degree
             felony. And he served six years in the Utah state prison and is a
             registered sex offender. In addition, he has another case, 20M1332,
             for indecent exposure involving masturbating in his car, and the
             victim in that case picked the defendant out of the lineup; so did the
             defendant (sic) in this case, whether it was 80 percent or 100 percent,
             it doesn’t make any difference for bond arguments to me today. He
             is facing 16 to 48 years to life in prison for the F1. It is truly
             impossible for me to imagine many cases that would exceed the
             public safety concerns that are presented by this particular case….
             (ECF #1-4, p. 7, l. 10 to p. 8, l. 3; see also ECF #1-5).


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             *       *        *

             THE COURT: Okay, I really appreciate it. Well, I have considered
             the argument of counsel, which were, again, laid out in a large stack
             of writing, which I have read in detail. I very much appreciate your
             efforts on this. I also have considered each and every statutory
             guideline that’s set forth in the bond statutes. For the reasons that I
             set forth before, there are numerous statutory guidelines that Ms.
             Chadderdon has described as a matrix that I have considered, which
             generally, almost all point in the direction of a higher bond, but the
             one major concern here, and the prevailing concern, particularly
             given Chief Justice Coats’ directions to our Courts is public safety.
             It is almost impossible, again, for me to imagine a more elevated
             public safety risk than the case that is presented here, completely
             understanding that the defendant is presumed innocent and that
             these are mere allegations. The public safety risk is extremely
             elevated and so, I do think a highly elevated bond is appropriate in
             this case and I’m going to deny the Motion to modify the bond. It
             will remain at a $300,000 amount with all due respect. (ECF #1-4,
             p. 11, ls. 8-25 (emphasis added)).

6.    On July 17, 2020, Glad filed a 48 page Petition for Review of District Court’s Bail Decision

      Filed Pursuant to C.R.S. §16-4-204 with the Colorado Court of Appeals (ECF #1-12) in

      which Glad advanced many of the same arguments he brings before this Court through his

      Writ of Habeas Corpus and Memorandum of Law. On July 31, 2020, after giving

      consideration to Glad’s petition for review, the Colorado Court of Appeals dismissed the

      Petition (ECF #1-13).

7.    On August 16, 2020, Glad filed a 51 page Petition for Relief Pursuant to C.A.R. 21 with

      the Colorado Supreme Court (ECF #1-14) in which Glad advanced many of the same

      arguments he brings before this Court through his Writ of Habeas Corpus and

      Memorandum of Law. On August 18, 2020, after giving consideration to Glad’s Petition

      for Relief, the Colorado Supreme Court denied the Petition (ECF #1-15).

8.    Trial in 2020CR1194 is currently set for February 1, 2021 after having been continued by

      the El Paso District Court due to COVID-19 protocols.



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                                   III.     Standard of Review

       “An application for a writ of habeas corpus pursuant to 28 U.S.C. § 2241 ‘is an attack by

a person in custody upon the legality of that custody, and …the traditional function of the writ is

to secure release from illegal custody.” Ramirez v. Goetz, No. 17-cv01707-NYW, 2018 WL

526908, at*2 (D. Colo. Jan. 24, 2018) quoting McIntosh v. U.S. Parole Com’n, 115 F.3d 809, 811

(10th Cir. 1997). Such relief is only warranted if the applicant is in custody in violation of the

Constitution or laws or treaties of the United States.” Ramirez, 2018 WL 526908 at *2 quoting 28

U.S.C. § 2241(c)(3).

       “The requirements for issuing a TRO mirror the requirements for issuing a preliminary

injunction. In order to obtain a temporary restraining order, a plaintiff must establish: (1) a

substantial likelihood of success on the merits; (2) irreparable harm will ensue if the request for a

TRO is denied; (3) the threatened injury outweighs the harm that the TRO may cause the

defendant; and, (4) if issued, the TRO will not adversely affect the public interest.” Briscoe v.

Sebelius, 927 F. Supp. 2d 1109, 1114 (D. Colo. 2013) citing General Motors Corp. v. Urban

Gorilla, LLC, 500 F.3d 1222, 1226 (10th Cir. 2007); Heideman v. Salt Lake City, 348 F.3d 1182,

1188-89 (10th Cir. 2003); Fed. R. Civ. P. 65. “It is well settled that a [TRO] is an extraordinary

remedy, and that it should not be issued unless the movant’s right to relief is ‘clear and

unequivocal.’” Heideman, 348 F.3d at 1188 quoting Kikumura v. Hurley, 242 F.3d 950, 955 (10th

Cir. 2001).

                                      IV.     ARGUMENT

       A.      This Court Does Not have Jurisdiction because Glad Cannot Meet His Burden
               to Overcome the Presumption of Abstention.

       The DA hereby adopts Respondent, Sheriff Bill Elder’s argument that under the Younger

abstention doctrine, federal courts cannot interfere with ongoing state criminal proceedings and



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must abstain from existing jurisdiction absent exceptional circumstances. See Younger v. Harris,

401 U.S. 37 (1971).

       DA further asserts that “Under the Younger abstention doctrine federal courts are to abstain

from exercising jurisdiction to interfere with state proceedings when the following three

requirements are met: ‘(1) there is an ongoing state criminal, civil, or administrative proceeding,

(2) the state court provides an adequate forum to hear the claims raised in the federal complaint,

and (3) the state proceedings involve important state interests, matters which traditionally look to

state law for their resolution or implicate separately articulated state policies.’” Winn v. Cook, 945

F.3d 1253, 1257 (10th Cir. 2019) quoting Chapman v. Oklahoma, 472 F.3d 747, 749 (10th Cir.

2006). DA asserts that at least two out of the three requirements for abstention under Younger have

been met in this case.

           1. Ongoing Proceedings:

       It is undisputed that proceedings within the criminal case against Glad (2020CR1194) are

still ongoing within the El Paso County District Court. However, given Glad’s argument that the

proceedings governing his bond reduction motion have cease, DA while disagreeing with Glad’s

argument, concedes that such an argument could be made that the first Younger requirement has

not been met.

           2. Adequate State Forum to Hear the Claims Raised in the Writ and Motion for TRO:

       Glad had an opportunity and in fact did raise the issues raised in the Writ and Motion for

TRO in each of the forums provided to him by the Colorado state courts. He moved to have his

bond modified by the El Paso District Court and when that did not work the way he wanted it to

he filed a Petition for Review with the Colorado Court of Appeals and a Petition for Relief in the

Colorado Supreme Court. Each of those state judicial bodies indicated that they reviewed and




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considered the positions raised by Glad, many of which are the exact same positions asserted in

the Writ and Motion for TRO here, and then denied the relief requested by Glad. Thus, this

requirement of the Younger abstention doctrine has not clearly been met.

            3. Important State Interests:

        “The States’ interest in administering their criminal justice systems free from federal

interference is one of the most powerful of the considerations that should influence a court

considering equitable types of relief.” Kelly v. Robinson, 479 U.S. 36, 49 (1986) (citing Younger,

401 U.S. at 44-45). It is axiomatic that Colorado, like other states, has an “important state interest”

in the enforcement of its criminal laws. See e.g. People v. Allee, 740 P.2d 1, 9 (Colo. 1987);

Strickland v. Wilson, 399 Fed.Appx. 391, 397 (10th Cir. 2010) (the pending proceedings involve

“important state interests – namely, the enforcement of state criminal laws….”); Meador v.

Paulson, 385 Fed.Appx. 613 (8th Cir. 2010) (“the district court did not abuse its discretion in

electing to abstain under Younger v. Harris, 401 U.S. 37 [ ] (1971), because at the time of the

court's order, a state criminal proceeding against [petitioner] was ongoing; the proceeding

implicated the important state interest of enforcing its criminal laws; and [petitioner] can (and did)

raise his constitutional claim in that proceeding.”). This Younger abstention doctrine requirement

has therefore, also been met.

        Glad asserts in his Reply to the Response filed by Respondent Elder that an exception to

the Younger abstention doctrine applies because Glad “faces a ‘threat of irreparable injury” which

“’cannot be eliminated by …defense against a single criminal prosecution.’” See ECF #20, p. 6,

citing Winn, 954 F.3d at 1259 and Walck v. Edmonson, 472 F.3d 1227, 1233 (10th Cir. 2007).

However, Glad misapplies the irreparable harm exception to the Younger abstention doctrine to

the facts of his case.




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       First, neither, Younger, Winn nor Walck stand for the proposition that a defendant assessed

a bail amount that he cannot afford faces a threat of irreparable injury because the threat cannot be

eliminated by the defense against a single criminal prosecution. In Younger the Court addressed

the issue of whether the threat can be eliminated by the defense against a single criminal

prosecution and held :

               Certain types of injury, in particular, the cost, anxiety, and
               inconvenience of having to defend against a single criminal
               prosecution, could not by themselves be considered ‘irreparable’ in
               the special legal sense of that term. Instead, the threat to the
               plaintiff's federally protected rights must be one that cannot be
               eliminated by his defense against a single criminal prosecution.
               *       *        *
               And similarly, in Douglas, [ ] we made clear [ ] that: “It does not
               appear from the record that petitioners have been threatened with
               any injury other than that incidental to every criminal proceeding
               brough lawfully and in good faith….”

       Younger, 401 U.S. at 46-47 quoting Douglas v. City of Jeannette, 319 U.S.
       157, 164 (1943) (emphasis added).
       Winn and Walck both involved the question of whether a forthcoming second state trial

would constitute a violation of the defendant’s double jeopardy rights. In Winn, the 10th Circuit

court held that because “[t]he Double Jeopardy clause ‘itself contains a guarantee that a trial will

not occur’ …a viable double-jeopardy claim warrants an exception to Younger.” Winn, 945 F.3d

at 1263. In Walck, the 10th Circuit court held that “Younger abstention is unwarranted where a

criminal accused presents a colorable claim that a forthcoming second state trial will constitute a

violation of her double jeopardy rights..” Walck, 472 F.3d at 1234. In the instant matter, there is

no allegation that Glad is facing a violation of his double-jeopardy rights.

       Glad also supports his exception to the Younger abstention doctrine by claiming that his

case, because it alleges an “unconstitutional pretrial detention ‘fits squarely within the irreparable

harm exception.’” ECF #20, p. 7 citing Arevalo v. Hennessy, 882 F.3d 763, 766 (9th Cir. 2018).




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However, Arevalo is also distinguishable on its facts because in Arevalo, the 9th Circuit court found

that Arevalo’s case easily falls within the irreparable arm exception to Younger, because Arevalo

had “been incarcerated for over six months without a constitutionally adequate bail hearing.”

Arevalo, 882 F.3d at 766. In its statement of the facts before it, the Arevalo court stated:

               But first the facts. Erick Arevalo has been detained since he was
               arrested on July 1, 2017 and charged with various California crimes
               arising from a domestic dispute. On July 6, 2017, the California trial
               court summarily set Arevalo's bail at $1.5 million.

               On August 10, 2017, Arevalo filed a motion for bail hearing or bail
               reduction, arguing that the unreasoned excessive bail violated his
               Eighth and Fourteenth Amendment rights. He argued that financial
               release conditions are unconstitutional absent both specific
               procedural protections and a finding that non-financial conditions
               could not reasonably serve the State's interest.

               Arevalo also pointed out that he had no prior criminal record. … He
               requested an evidentiary hearing.

               At a hearing the same day, the trial court agreed to lower the bail
               amount to $1 million. The court noted that the charges were serious,
               but did not discuss Arevalo's ability to pay or what government
               interests the bail amount would serve.

       Arevalo, 882 F.3d at 764-65 (emphasis added).

       Clearly, the same is not true in the case before this Court. The transcript of the April 16,

2020 Bond Reduction Hearing shows that Judge Sokol considered the argument of counsel, both

at the hearing and in the “large stack of writing” provided to the court for her consideration on the

bond modification issue and each and every statutory guideline that’s set forth in the bond statutes

which generally, almost all point in the direction of a higher bond. See §II, ¶5, supra; ECF #1-4.

Judge Sokol went on to state that “the one major concern here, and the prevailing concern,

particularly given Chief Justice Coats’ directions to our Courts is public safety. It is almost

impossible, again, for me to imagine a more elevated public safety risk than the case that is

presented here, completely understanding that the defendant is presumed innocent and that these



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 are mere allegations. The public safety risk is extremely elevated and so, I do think a highly

 elevated bond is appropriate in this case.” Id.

         Accordingly, Glad’s argument that an exception to the Younger abstention doctrine applies

 in his case is without merit and cannot stand. This Court does not have jurisdiction over the Writ

 and TRO because at least two of the three Younger abstention doctrine requirements are present

 and the exception to that doctrine argued by Glad is inapplicable given the facts of this case.

         B.      Glad is Not Entitled to a Temporary Restraining Order Requiring His
                 Immediate Release and Adjudicating His Petition for a Writ of Habeas Corpus
                 because He Fails to Show that He is Clearly and Unequivocally Entitled to
                 Such Relief.

         Glad asserts that he s entitled to a TRO because he is likely to succeed on the merits of

 constitutional challenge to his bail conditions as the trial court failed to “make specific findings

 based on the clear-and-convincing-evidence standard that his detention was necessary because

 alternatives to detention were insufficient to serve the government’s interests of community safety

 or ensuring his presence at trial.” ECF #20, p. 8 citing to ECF #3, pp. 9-20.

         In Elliott v. Brown, Judge R. Brooke Jackson, evaluated the same claim made here by

 Glad.1 In his opinion Judge Jackson noted:

                 Defendant cited United States v. Salerno, 481 U.S. 739, 751 (1987)
                 in support of [his claim that “to satisfy procedural due process, an
                 order of de facto detention requires that the court consider Elliott’s
                 ability to pay, find that pretrial detention is required by ‘clear and
                 convincing evidence’ and issue findings on the record”]. But
                 Salerno addressed, and rejected, a due process challenge to a portion
                 of the Bail Reform Act of 1984. 28 U.S.C. § 3141 et seq. Under the
                 Bail Reform Act, which applies to pretrial detainees in federal
                 criminal prosecutions, the government must either prove flight risk
                 by a preponderance of the evidence or dangerousness to the
                 community by clear and convincing evidence. 28 U.S.C. § 3142(f).
                 See United States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003).

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   In fact, the Trial Brief filed in this case is nearly identical to the one filed in the Elliott v. Brown
 matter and counsel for Mr. Glad in this case are essentially the same as those who represented Mr.
 Elliot against Sheriff Brown.


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                The sentence in the motion to modify is not supported by Salerno.
                Requiring proof by clear and convincing evidence in order to set an
                “unattainable bond” based on flight risk in a Colorado criminal
                prosecution would expand Colorado law beyond what even the
                Bond Reform Act requires. Notably, the evidence that Mr. Elliott
                had eight previous failures to appeal in cases where he faced far
                lesser sentences, and that the Pretrial Report graded him as a “high
                risk” would seem to support a finding that he is a flight risk under
                either standard of proof.

         Elliott v. Brown, No. 20-CV-00964-RBJ, 2020 WL 2112363, at *10, fn. 2 (D. Colo. May
         4, 2020), appeal dismissed, No. 20-1175, 2020 WL 6472388 (10th Cir. Aug. 10, 2020).

 Additionally, the facts regarding the hearing held in the Elliott criminal case regarding Mr. Elliott’s

 bail amount are also substantially similar to those presented in this case. See Elliott, 2020 WL

 2112363, at *10.

         In Elliott, Judge Jackson found that “The Arapahoe judges did not accept the proposition

 that they had to set a bond that Mr. Elliott could afford, nor should they have under Colorado

 law. Elliott at *11 citing People v. Jones, 489 P.2d 596, 599 (Colo. 1971) (“The right to bail does

 not amount to a guarantee that every defendant who is charged with a crime will be released

 without bail if he is indigent.”). Judge Jackson’s finding should be the finding of this Court as

 well.

         In support of his renewed Motion for a TRO, Glad also makes the preposterous assertion

 that “He was not told why his $300,000 bail was appropriate notwithstanding his inability to pay

 it.” ECF #20, pp. 8-9. During the April 16, 2020 Bond Modification Hearing Judge Sokol advised

 Glad and his counsel that: (1) “There remains a clear need to detain some criminal defendants in

 the interest of public safety and therefore, jail populations cannot be reduced indiscriminately. This

 is a case of momentous proportions with respect to public safety. In fact, it’s difficult to really

 imagine a case with more public safety implications;” (2) “It is truly impossible for me to imagine

 many cases that would exceed the public safety concerns that are presented by this particular



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 case…;” and (3) “I also have considered each and every statutory guideline that’s set forth in the

 bond statutes. For the reasons that I set forth before, there are numerous statutory guidelines that

 Ms. Chadderdon has described as a matrix that I have considered, which generally, almost all point

 in the direction of a higher bond, but the one major concern here, and the prevailing concern,

 particularly given Chief Justice Coats’ directions to our Courts is public safety. It is almost

 impossible, again, for me to imagine a more elevated public safety risk than the case that is

 presented here, completely understanding that the defendant is presumed innocent and that these

 are mere allegations. The public safety risk is extremely elevated and so, I do think a highly

 elevated bond is appropriate in this case.” §II, ¶5, supra; ECF #1-4. Clearly, Glad’s assertion is

 incorrect at best.

         In order to obtain a temporary restraining order Glad must establish: (1) a substantial

 likelihood of success on the merits; (2) irreparable harm will ensue if the request for a TRO is

 denied; (3) the threatened injury outweighs the harm that the TRO may cause the defendant; and,

 (4) if issued, the TRO will not adversely affect the public interest.” Briscoe, 927 F. Supp. 2d 1109

 at 1114; Heideman, 348 F.3d at 1188-89; Fed. R. Civ. P. 65. A TRO is an extraordinary remedy,

 that should not be issued unless Glad’s right to relief is “clear and unequivocal.” Heideman, 348

 F.3d at 1188 quoting Kikumura, 242 F.3d at 955.

         If the injunction (1) will disturb the status quo; (2) is mandatory as opposed to prohibitory;

 or (3) will provide the movant substantially all the relief he may recover after a full trial on the

 merits, the Tenth Circuit has held that “in these three situations, the movant must show that the

 four factors used in determining whether to issue a TRO ‘weigh heavily and compellingly in [his]

 favor…’” before the injunction can be issued. Briscoe, 927 F.Supp.2d at 1114 (citations omitted)

 (emphasis added). Under those circumstances, the proposed injunction “must be more closely




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 scrutinized to assure that the exigencies of the case support the granting of a remedy that is

 extraordinary even in the normal course” and “a party seeking such an injunction must make a

 strong showing both with regard to the likelihood of success on the merits and with regard to the

 balance of harms.” O Centro Espirita Beneficiente Uniao do Vegetal v. Ashcroft, 389 F.3d 973,

 975 (10th Cir. 2004) (en banc).

         In this case, Glad has not made a showing that the each of the four factors used in

 determining whether to issue a TRO “weigh heavily and compellingly in [his] favor….” Briscoe,

 927 F.Supp.2d at 1114. At best Glad simply (1) makes suppositions regarding the likelihood of his

 success on the constitutional issues presented; (2) merely argues without providing evidence that

 he will suffer “tangible harms that accompany pretrial detention, including loss of employment,

 separation from family and impediments to assisting in his own trial.” ECF #20, p. 10. Further,

 Glad makes no showing that the “tangible harms” previously stated outweigh the public safety

 harms clearly identified by Judge Sokol and the DA in the bond modification proceedings held in

 the trial court or that the public safety interests of the citizens of El Paso County and this state will

 not be adversely affected by the issuance of his requested TRO.

                                            CONCLUSION

         For all of the foregoing reasons, Glad’s Writ and Motion for a TRO should be denied by

 this Court. In the alternative, should this court find that Younger abstention doctrine is

 inapplicable to the facts of this case because the trial court failed to give Glad a constitutionally

 adequate bond hearing, DA requests this Court stay any order granting the habeas petition for a

 reasonable period of time to allow the trial court to conduct an constitutionally adequate bond

 modification hearing. See Arevalo, 882 F.3d at 767-68.

         Respectfully submitted this 4th day of January, 2021.




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                                          El Paso County Attorney’s Office

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                                    Certificate of Service


 This is to certify that on the 4th day of January, 2021, I electronically filed the foregoing
 RESPONDENT DISTRICT ATTORNEY FOR THE FOURTH JUDICIAL DISTRICT
 RESPONSE TO APPLICATION FOR WRIT OF HABEAS CORPUS PURSUANT TO 28
 U.S.C. § 2241; ORDERS OF COURT DATED AUGUST 31, 2020 and DECEMBER 21, 2020
 AND PETITIONER’S RENEWED MOTION FOR TEMPORARY RESTRAINING
 ORDER with the Clerk of Court using the CM/ECF system which will send notification of such
 filing to the following e-mail address(es):

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                                                             s/ Bryan E. Schmid
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